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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION

 Thomas Sierra,
                                             No. 18 C 3029
        Plaintiff,
                                             Hon. John Z. Lee,
        v.                                   District Judge

 Reynaldo Guevara et al.,                    Hon. M. David Weisman,
                                             Magistrate Judge
        Defendants.



              Plaintiff’s Response to Defendant City of Chicago’s
             Status Report Regarding Monell Document Production

       Plaintiff Thomas Sierra, through his attorneys, respectfully submits the

following response to the City of Chicago’s Status Report Regarding Monell

Document Production:

       In its status report filed on January 17, 2020, Defendant City of Chicago

proposed a timeline for complying with this Court’s order to produce complaint

register files and homicide investigative files from Area 5 from the years 1991

through 1995. It requests five to six months to produce the complaint register

files and five months to produce the investigative files—meaning that Monell

production will not be complete, at the earliest, until June 2020. Based on

Plaintiff’s counsel’s experience litigating similar cases against the City, Plaintiff

believes that this proposed timeline significantly overestimates the time required

to produce these files, which are central to Plaintiff’s Monell theories. Plaintiff
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therefore respectfully requests that the Court set a shorter deadline for the

completion of this production.

A.       Complaint register files

         The City’s request for five to six months to produce the complaint register

files represents an unnecessary and unjustifiable delay. First, based on Plaintiff’s

counsel’s experience, the City’s characterizations of the time required to identify

responsive files are considerably exaggerated. In another case, Cazares v. Frugoli,

No. 13 C 5626 (N.D. Ill.), the City stated that it has developed a computerized

search tool that makes all of the complaint histories for each officer readily

accessible. According to the City,

         CPD has created a new search tool that allows the user to
         simultaneously search all databases in which CR information is
         stored, including two sources that may contain older CR
         information potentially not stored in the three databases that CPD
         traditionally has searched when responding to a request for an
         officer’s CR history. . . . CPD’s new tool allows the user to create a
         master index listing all CRs for a given officer, regardless of the
         database in which information about the CRs may be found.

Ex. 1, City of Chicago’s Position Paper in Cazeres v. Frugoli, No. 13 C 5626 (N.D.

Ill.), at 3.

         Counsel for the Plaintiff recently learned that in another case involving

the disclosure of complaint register files, the City represented to the court that it

could produce those files much faster than they have contended in this case. In a

status report filed in Green v. Chicago Police Department, No. 15 CH 17646 (Cook

Cty. Cir. Ct.), which is attached as Exhibit 2 to this response, the City explained


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that despite the fact that complaint register files are “extremely sensitive” and

require careful review before being produced, its vendor is will be able to

produce 3,000 files every month. Ex. 2 ¶¶ 7–8. Assuming that there are

approximately 300 responsive complaint register files that must be newly

produced in this case—likely an overestimation given that one year’s worth of

the files are already being produced in Solache and Reyes, Nos. 18 C 1028 and 18 C

2312 (N.D. Ill)—it would take the City only about three days to produce the files

based on their representation in Green. Even affording the City the benefit of the

doubt that such a rapid production is impracticable in this case for one reason or

another, the request for five to six months to turn over these documents is plainly

excessive. 1

        Plaintiffs’ counsel’s experience in similar cases also suggests that the

City’s time estimates are unreasonable. The City contends, for example, that this

production is time-consuming because all the complaint register files will have to

be reviewed for redactions. But in previous cases, including Hood v. City of

Chicago, 17 C 1970 (N.D. Ill.), and Washington v. Boudreau, 16 C 1893 (N.D. Ill.), the

City did not review complaint register files for redactions, and the City has not

explained why it would go through that process in this case. Moreover, the

protective order that has already been entered in this case is sufficient to ensure



        1Notably, the court in Green found that the Chicago Police Department had “willfully
and intentionally failed to comply with the Court’s order to produce” complaint register files and
imposed a statutory penalty under the Illinois Freedom of Information Act. See Exhibit 3,
Omnibus Order of Jan. 10, 2020, Green v. Chicago Police Dep’t, No. 15 CH 17646, at 7–8.

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that materials produced confidentially will not be disclosed. See dkt. 123. For

these reasons, the City’s contention that it needs five to six months to produce

the requested complaint register files is without merit.

B.     Investigative files

       The City’s estimate that it will take five months to produce the

investigative files in this case is similarly excessive. It contends that it will take

about 450 hours to scan 300 files—implying a rate of about an hour and a half per

file. The City’s only explanation for this estimate is that the files often contain

irregular sheets of paper that must be scanned individually. But based on

Plaintiff’s counsel’s experience in Rivera v. City of Chicago, No. 12 C 4428 (N.D.

Ill.), as well as other cases in which counsel has inspected the original

investigative files, the documents are fastened together inside the file with a two-

hole punch. The fastener can be removed in a matter of seconds, and the vast

majority of the documents in the file are 8.5” x 11” pieces of paper that can be

scanned in minutes; miscellaneous documents of different sizes, if any, can then

be scanned individually in a few additional minutes. Indeed, Plaintiff’s counsel

has experience scanning large numbers of very similar files with mixed contents

(e.g., attorneys’ files from old homicide cases), and has been able to scan multiple

files in less than an hour. If the City can scan just two investigative files per hour,

the scanning process for 300 files will take only 150 hours in total—not 450 hours

as the City suggests.



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       The City also states that the production may take longer than the

estimated five months because “it is unlikely that CPD personnel will have the

opportunity to devote their full workday to this request.” Dkt. 159 at 3. If

personnel availability is an obstacle to the timely disclosure of these documents,

the Plaintiff offers to hire an outside vendor to complete the production. As was

his position during the briefing on the motion to compel Monell discovery,

“Sierra stands willing to share the cost and burden of production.” Dkt. 138 at 15.

       The City further contends that it needs eight weeks to conduct a privilege

review before the files can be produced. As with the complaint register files, a

privilege review would be unnecessary and unusual. There is no need for a

privilege review before producing police investigative files that contain no

privileged information. Notably, the City has not listed any documents from the

investigative files disclosed in this case, Reyes, No. 18 C 2312 (N.D. Ill), or Gomez,

No. 18 C 3335 (N.D. Ill.) on any privilege log.

       Experience from previous cases suggests that the City will be able to

complete production of the investigative files in about two months. In

Kluppelberg v. City of Chicago, No. 13 C 3963 (N.D. Ill.), the City was ordered on

July 23, 2015 to produce 660 investigative files. See Ex. 4, Kluppelberg Order of

July 23, 2015. The City hired a vendor, the first production was made on August

11, 2015, and the production was completed on November 2, 2015. See Ex. 5,

Discovery Correspondence in Kluppelberg. In Rivera, on September 24, 2013, the

City was ordered to produce, among other things, Area 5 files from 1985–1991, to

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be scanned and produced by a third-party vendor at Mr. Rivera’s expense. See

Ex. 6, Order of Sept. 24, 2013 in Rivera. The City delayed in obtaining a vendor,

but eventually gave the vendor the go-ahead to start scanning on or after

November 19, 2013. The 138 files were produced in mid-December,

approximately three weeks later (a period that included the Thanksgiving

holiday). See Ex. 7, Correspondence from Rivera.

                                   CONCLUSION

       The City’s over-inflated estimates of the time it needs to complete the

ordered production risk prejudice to all parties in this litigation. As the Plaintiff

argued in his briefing regarding the motion to compel Monell discovery, the

complaint register files and investigative files are essential to the Plaintiff’s

claims because they contain evidence that the City failed to adequately train,

supervise, and discipline its officers to prevent the kind of investigative

misconduct that occurred in this case. And the City’s disclosure of these files is

only the beginning of a longer process of review by Plaintiff’s counsel and by one

or more experts that will analyze the documents. The Court should not permit

the City to needlessly delay disclosing essential documents, particularly given

that significant additional work will be required when they are ultimately

produced. Because the City’s proposed timeline will unnecessarily postpone the

completion of discovery in this case and increase the cost of this litigation to all

parties as the proceedings drag on, Plaintiff respectfully requests that the Court



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order the City to produce the requested Monell discovery in fewer than the five to

six months requested in the City’s status report.



Dated: January 22, 2020                               Respectfully submitted,

                                                      /s/ John Hazinski
                                                      Attorney for Plaintiff Sierra


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                           CERTIFICATE OF SERVICE

        I, John Hazinski, an attorney, hereby certify that on January 22, 2019, I
filed the foregoing Plaintiff’s Response to Defendant City of Chicago’s Status
Report Regarding Monell Document Production using the Court’s CM/ECF
system, which effected service on all counsel of record.

                                                         /s/ John Hazinski
                                                         Attorney for Plaintiff Sierra




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